         Case 5:18-cv-01248-MHH Document 26-1 Filed 05/13/20 Page 1 of 3                                FILED
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




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                                           March 6, 2020


VIA E-mail [chrismesservy@gmail.com]

Chris Messervy
107 Jefferson Street North
Huntsville, AL 35801


         RE:      Barbara Sauls v. Rankin Sneed, et al.; 5:18-cv-01248 MHH.

Chris:

         Following our most recent conversation and in further compliance with Judge Haikala’s
“Initial Order”, I am sending this letter to clarify my concerns about the current Complaint
filed in this case and as a follow-up to our Joint Notice of Agreement for Amended Complaint
filed with the Court on August 17, 2018 (the “Notice”, Doc. 9). While the pending motion to
remand put a temporary hold to these efforts, we have now received from the Court an initial
discovery deadline of September 30, 2020 and instructions to be ready for trial by January of
2021.

        Given the above, I will clarify my objections to the Complaint, at least to the extent
those objections may fall within the definition of “perceived deficiencies in the factual
allegations of the complaint”, as referenced within Judge Haiklala’s draft “Initial Order”.
These objections/concerns are as follows:

         Count One: This claim seeks an order setting aside the June 6, 2016 trust
         executed by Mr. Sauls; however, the only named defendants to this claim are

March 6, 2020
Letter to Chris Messervy
Page 1 of 3
         Case 5:18-cv-01248-MHH Document 26-1 Filed 05/13/20 Page 2 of 3



         Lori Marrow, as the trustee, and the Marrows in their individual capacities. Per
         Alabama law, a claim affecting the respective interests of a trust must include
         the Trustee and the trust beneficiaries as necessary and indispensable parties.
         (See Drath v. Armstrong, 141 So. 634 (Ala. 1932). As you are aware, the Trust
         beneficiaries included Lori Marrow, as well as James Morrow, David Marrow,
         Mary Saulman, Norman William Bean, Jr., Lisa Moffatt, Tony Moffatt, Floyd
         Charlesworth, Alan Bergman, Andrew Moffatt, , Mary Saulman, Christie Steele,
         and Melissa Oakley, all of which are necessary and indispensable parties to this
         claim;

    • Count Two: This claim appears to assert promissory fraud allegations against
      the Marrows and the Trust, arising from alleged statements made by Mr. Sauls
      to Mrs. Sauls. I do not see how those allegations are broad enough to
      encompass my clients; rather, they strongly suggest that this claim is limited to
      a dispute between Mrs. Sauls and Mr. Sauls’s estate. That Count also fails to
      plead the requisite elements to support promissory fraud;

    • Count Three: This claim asserts a mix of fraud claims against my clients, based
      on alleged statements made by them to third-parties other than Mrs. Sauls (i.e.,
      to the police, to Locktec, to Mr. Sauls’ divorce attorney, and to Lockheed
      Martin). There are no allegations that Mrs. Sauls, the plaintiff, was the recipient
      of these representations or otherwise relied upon them to her detriment—both
      of which are required elements of a fraud claim;

         In addition, Count Three further appears to merge its fraud claims with claim
         for fraudulent conveyance, under the Alabama Fraudulent Transfer Act
         (“AFTA”). If that is the intent, I suggest that the fraudulent conveyance claims
         be separated from the legal fraud claims as they are separate causes of action,
         based upon separate statutes and separate bodies of common law. I further
         request that any such claim for fraudulent conveyance specify which ATFA
         subsection(s) were allegedly violated and under which subsection your client
         seeks relief;

     • Count Four: This claim alleges that the Marrows unlawfully entered the Sauls’
       home while he was in the hospital, despite the fact that: (1) they had permission
       from Mr. Sauls to enter the property; and (2) Lori Marrow held a Power of
       Attorney from Mr. Sauls, the scope of which provided expressed authority for
       the actions she allegedly took on his behalf. I understand that Mrs. Sauls did
       not authorize this activity, but that does not make it unlawful. The same can
       be said of Mr. Sauls’ purported violation of an order entered in the parties’
       divorce action. As recognized in the Complaint, that case has been dismissed
       and the issue is now moot.

March 6, 2020
Letter to Chris Messervy
Page 2 of 3
         Case 5:18-cv-01248-MHH Document 26-1 Filed 05/13/20 Page 3 of 3




       While you may disagree with some of my analysis, I respectfully ask that you revise the
Complaint, per our agreement and the August 17, 2018 Notice, to address these issues. In so
doing, I hope we can minimize the scope of any subsequently filed Motion to Dismiss.
Regardless, I think an Amended Complaint is long past due, so please file one within the next
two (2) weeks. Otherwise, I will be required to proceed with a Motion to Dismiss the current
Complaint.


                            Thank you in advance for your cooperation,


                                           Sincerely,



                                           Charles A. Ray, IV




March 6, 2020
Letter to Chris Messervy
Page 3 of 3
